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IN THE UNITED sTATEs DISTRICT CoURT F"£° B"' %*~ °‘C‘
FoR THE wEsTERN DIsTRICT oF TENNESSEE ,
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THOW\S M. GOULD
assessment cast
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IVER sCHMIDT and sHARoN A. scHMIDT, )
)
Plaintiff, )
)
v. ) No. 04-2630 Dv
)
JEANETTE MARTIN afb/a MARTIN )
CoNsTRUcTIoN, RoY wAYNE MARTIN, )
JR., a/k/a wAYNE MARTIN, afb/a MARTIN )
coNsTRUcTIoN, MoNE'rTE MCCALL )

FINLEY, WHISPERING SPUR LOG HOMES, )
PAIGE MONETTE WRIGHT, DAVID EUDY, )
WINSTON CULLUM, BARBARA MCCALL, )
MCCALL TRUST, BARRY CRUTCHFIELD, )
MICKI FARRINGTON, AND JOHN DOE I, II, )
III, and IV

\_/\_/\_/

Defendant.

 

ORDER DENYING DEFENDANTS’ MOTION TO STRIKE OR
TO DISMISS OR FOR A MORE DEFINITE STATEMENT

 

Before the Court is the motion (dkt. # 12) of Jeanette Martin and Roy Wayne Martin, Jr.
(“Defendant”) to strike the complaint or to dismiss the complaint or, in the alternative, for a more
definite statement. For the following reasons, the Court DENIES Defendants’ motion and orders
Defendants to answer the complaint Within twenty days.

Defendants first argue that the Court should dismiss the complaint for failure to state a claim
upon which relief can be granted. A party may bring a motion to dismiss for failure to state a claim

under Rule lZ(b)(6). 'I`his motion only tests whether the plaintiff has pleaded a cognizable claim.

Scheid v. Fanny Farmer Candy Shops, Inc., 859 F.2d 434, 436 (6th Cir. 1988). Essentially, it allows
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the court to dismiss meritless cases which would otherwise waste judicial resources and result in
unnecessary discovery. See_ §g, Nietzke v. Williams` 490 U.S. 319, 326-27 (1989).

The Supreme Court has held that “a complaint should not be dismissed for failure to state
a claim unless it appears beyond doubt that the plaintiff can prove no set of facts in support of his
claim which would entitle him to relief.” Conley v. Gibson, 355 U.S. 41, 45-46 (l957); ge gs_o_

Nietzke, 490 U.S. at 326-27; Lewis v. ACB Bus. Serv.. Inc.. 135 F.3d 389, 405 (6th Cir. 1997).

 

Thus, the standard to be applied when evaluating a motion to dismiss for failure to state a claim is

very liberal in favor of the party opposing the motion. Westlake v. Lucas, 537 F.2d 857, 858 (6th

 

Cir. 1976). Even if the plaintiffs chances of success are remote or unlikely, a motion to dismiss
should be denied.

To determine whether a motion to dismiss should be granted, the court must first examine
the complaint The complaint must contain “a short and plain statement of the claim showing that
the pleader is entitled to relief.” Fed. R. Civ. P. S(a). The complaint must provide the defendant
with “fair notice of what the plaintiff’ s claim is and the grounds upon which it rests.” §Mq, 355
U.S. at 47 ; Westlake, 537 F.2d at 858. The plaintiff, however, has an obligation to allege the

essential material facts of the case. Scheid, 859 F.2d at 436-37. Moreover, legal conclusions or

 

unwarranted factual inferences should not be accepted as true. Lewis,135 F.3d at 405-06.

 

Defendants contend that the complaint does not satisfy the requirements of Rule 8, and thus,
should be stricken or dismissed. Iver and Sharon Schmidt (“Plaintiffs”) have alleged that they were
victims of Defendants’ fraudulent scheme involving the sale and construction of log homes. The
complaint pleads each claim with clarity and specificity and makes a clear demand for the relief

being sought. Thus, Defendants’ motion pursuant to Rule 12(b)(6) or Rule 8(a) is denied.

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Defendants also that the complaint violates rule 8(e), Which prohibits technical forms of
pleading and requires that the complaint be concise. Fed.R.Civ.P. 8. The complaint is simple,
concise, and direct and does not include any technical jargon. It is easily understood and does not
in any way violate Rule 8(e) Therefore, Defendants’ motion pursuant to Rule 8(e) is denied.
Defendants next assert that Plaintiffs have violated Rule 9(b) in stating their claim of fraud.
Under Tennessee law, to establish a claim for fraud, the plaintiff must show:
(l) an intentional misrepresentation With regard to a material fact, (2) knowledge of
the representation[‘s] falsity-~that the representation was made “knowingly” or
“without belief in its truth,” or “recklessly” without regard to its truth or falsity, (3)
that the plaintiff reasonably relied on the misrepresentation and suffered damage, and
(4) that the misrepresentation relates to an existing or past fact, or, if the claim is
based on promissory fraud, then the misrepresentation must “embody a promise of
future action without the present intention to carry out the promise.”
Shahrdar v. Global Housing, Inc., 983 S.W.2d 230, 237 (Tenn. Ct. App.l998) (quoting Stacks v.
Saunders, 812 S.W.2d 587, 592 (Tenn. Ct. App.l990)). Rule 9(b) of the Federal Rules of Civil
Procedure requires a plaintiff to plead fraud with particularity. The particularity requirement has
been interpreted to mean that a plaintiff must allege at a minimum “the time, place, and content of
the alleged misrepresentation . . .; the fraudulent scheme; the fraudulent intent of the defendants; and
the injury resulting from the fraud.” Qc_)_f§=:y, 2 F.3d at 162. Moreover, “allegations of fraudulent
misrepresentation must be made with sufficient particularity and with a sufficient factual basis to
support an inference that they were knowingly made.” Advocac Or . for Patients and Providers
v. Auto Club lns. Assoc., 176 F.3d 315, 322 (6th Cir. 1999) (quoting My, 2 F.3d at 162).

ln ruling upon a motion to dismiss pursuant to Fed. R. Civ. P. 9(b), a court must consider the

policy of simplicity in pleading embodied in Fed. R. Civ. P. 8. Michaels Bldg. Co. v. Ameritrust

Co. N.A., 848 F.2d 674, 679 (6th Cir. 1988). Rule 8 requires the plaintiff to provide a “short and

 

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plain statement of the claim” and “simple, concise, and direct” allegations Fed. R. Civ. P. 8. The
principal purpose for the Fed. R. Civ. P. 9(b) particularity requirement, when considered in context
with Fed. R. Civ. P. 8, is to ensure that the defendant receives fair notice of the alleged misconduct
or fraudulent acts of which the plaintiff complains in order to prepare a responsive pleading
Michaels Bldg. Co., 848 F.2d at 679.

The complaint asserts that these Defendants made numerous misrepresentations and false
statements with the intent of fraudulently obtaining money fiom Plaintiffs. Plaintiffs relied on those
statements to their detriment Plaintiffs provided details about time, place, and content as required
under Rule 9(b). Thus, the Court finds that these allegations are sufficient to satisfy Fed. R. Civ. P.
9(b) in light of Fed. R. Civ. P. 8. Accordingly, the Court denies Defendants’ motion to dismiss
Plaintist complaint based on Rule 9(b).

Defendants next argue that the complaint should be stricken or dismissed pursuant to Rule
12(e), which requires that a complaint not be vague or ambiguous, so that a party can reasonably be
expected to respond. Fed.R.Civ.P. 12(e). First, as previously discussed, the complaint is clear and
direct It is neither ambiguous nor vague and offers definite statements to which Defendants can
draft a responsive pleading without confusion. Additionally, Rule 12(e) specifically requires that
a motion must point out the specific defects in the complaint and the details desired. Defendants
have failed to do so. Therefore, Defendants’ motion to dismiss based on Rule 12(e) is denied.

Finally, Defendants argue that the complaint violates Rule 12(f), which prohibits redundant
immaterial, impertinent, or scandalous matter. Fed.R.Civ.P. 12(f). As previously determined, the
complaint is concise, direct, and specific Thus, the complaint does not violate Rule 12(0 and

Defendants’ motion pursuant to Rule l2(f`) is denied.

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The remainder of Defendants’ motion should be classified under a motion to dismiss for
failure to state a claim, pursuant to Rule 12(b)(6), which the Court has denied.

Accordingly, the Court DENIES Defendants’ motion to strike or to dismiss or for a more
definite statement Furthermore, the Court orders Defendants to file an answer to the complaint

within twenty days of this Order.

IT rs so oRDERED this [g" day orAugusr, 2005.

 

UNI ED STATES DISTRICT COURT

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 22 in
case 2:04-CV-02630 was distributed by faX, mail, or direct printing on
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Michael L. Weinman

WEINMAN & ASSOCIATES

114 S. Liberty St.
Jackson, TN 38302

Roy Wayne Martin
350 Hwy 305 S
Olive Branch, MS 38654

Jeanette Martin
350 Hwy 305 S
Olive Branch, MS 38654

Barry Crutchfield
Templeman and Crutchfield
1 13 E. Washington
Lovington, NM 88260

Honorable Bernice Donald
US DISTRICT COURT

